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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

   JULIANA C. DONAYRE, individually,               )
   and on behalf of others similarly situated,     )
                                                   )
         Plaintiff,                                )       Case No:
                                                   )
   v.                                              )       CLASS ACTION
                                                   )
   INKAHOLIK TATTOOS, INC.,                        )       JURY TRIAL DEMANDED
   a Florida corporation,                          )
                                                   )
         Defendant.                                )


                                 CLASS ACTION COMPLAINT

                                        INTRODUCTION

         1.     This action arises, in part, from Defendant’s willful and knowing violation of

  the Telephone Consumer Protection Act, 47 U.S.C. § 227 et seq. (“TCPA”), which prohibits

  the use of an automatic telephone dialing system to send text messages to cell phones and other

  mobile services subject to two exceptions: (1) calls made for emergency purposes; and (2) calls

  made with the prior express consent of the called party. 47 U.S.C. § 227(b)(1)(A)(iii); 47

  C.F.R. § 64.1200(a)(1)(iii).

         2.     Defendant, in an effort to drum up business for its tattoo parlors, sent Plaintiff

  and others multiple unsolicited telemarketing text messages, using automatic telephone dialing

  equipment within the meaning of the TCPA, despite the fact they requested not to be called

  and/or their telephone numbers were listed on the national do-not-call registry.

         3.     It is well understood that “the right to be let alone” is one of the most valued

  rights in a civilized society. See Olmstead v. United States, 277 U.S. 438 (1928). Moreover,

  Courts in this state have recognized that “[t]he right of privacy, assured to Florida's citizens,



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  demands that individuals be free from uninvited observation of or interference in those aspects

  of their lives which fall within the ambit of this zone of privacy unless the intrusion is

  warranted by the necessity of a compelling state interest.” Shaktman v. State, 553 So. 2d 148,

  150 (Fla. 1989).

         4.      Accordingly, Plaintiff, for her class action complaint, alleges as follows upon

  personal knowledge as to herself, her own acts and experiences, and, as to all other matters,

  upon information and belief, including investigation conducted by her attorneys.

                                  JURISDICTION AND VENUE

         5.      This Court has federal question subject matter jurisdiction over the claims in

  this case under 28 U.S.C § 1331 because this action arises out of a violation of federal law, the

  Telephone Consumer Protection Act, 47 U.S.C § 227 et seq.

         6.      Venue is proper in this district under 28 U.S.C. § 1391 because a substantial

  part of the events or omissions giving rise to the claims herein occurred in this judicial district.

  Defendant conducts business in this district and its contacts here are sufficient to subject it to

  personal jurisdiction.

                                              PARTIES

         7.      Plaintiff, Juliana C. Donayre, (“Plaintiff”) is a natural person who, at all times

  relevant to this action, was a resident of Broward County, Florida.

         8.      Defendant, Inkaholik Tattoos, Inc. (“Defendant”), is a Florida corporation

  whose principal address is 8367 SW 40th St., Miami, FL 33155 and whose registered agent for

  service of process is Isabel C. Demelo, 8367 SW 40th St., Miami, FL 33155.

         9.      Whenever in this complaint it is alleged that Defendant committed any act or

  omission, it is meant that the Defendant’s affiliates, subsidiaries, officers, directors, vice-



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  principals, agents, sub-agents, servants, or employees committed such act or omission and that

  at the time such act or omission was committed, it was done with the full authorization,

  ratification or approval of Defendant or was done in the routine normal course and scope of

  employment of the Defendant’s affiliates, subsidiaries, officers, directors, vice-principals,

  agents, sub-agents, servants, or employees.

                                AN OVERVIEW OF THE TCPA

         10.     The TCPA was enacted in response to “[v]oluminous consumer complaints

  about abuses of telephone technology.” Mims v. Arrow Financial Services, LLC, 132 S. Ct.

  740, 744, 565 U.S. 368, 181 L. Ed. 2d 881 (2012).

         11.     The TCPA prohibits calls made to cellular phones through the use of an

  automatic telephonic dialing system (also known as an “autodialer” or “ATDS”) or an artificial

  or prerecorded voice, unless the call was made for emergency purposes or with the “[p]rior

  express consent of the called party.” 47 U.S.C § 227(b).

         12.     According to findings by the Federal Communication Commission (“FCC”), the

  agency Congress vested with authority to issue regulations implementing the TCPA, such calls

  are prohibited because, as Congress found, automated or prerecorded telephone calls are a

  greater nuisance and invasion of privacy than live solicitation calls, and such calls can be costly

  and inconvenient. The FCC also recognized that wireless customers are charged for incoming

  calls whether they pay in advance or after the minutes are used. See In the Matter of Rules and

  Regulations Implementing the Telephone Consumer Protection Act of 1991, CG Docket No.

  02-278, Report and Order, 18 FCC Red 14014 (2013).

         13.     To demonstrate a violation of the TCPA, the Plaintiffs need only show that

  Defendant called a number assigned to a cellular telephone service using an automatic dialing



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  system or prerecorded voice. Breslow v. Wells Fargo Bank, NA, 857 F. Supp. 2d 1316, 1319

  (S.D. Fla. 2012).

         14.     In 2012, the FCC issued an order tightening the restrictions for automated

  telemarketing calls, requiring “prior express written consent” for such calls to wireless

  numbers. See In the Matter of Rules & Regulations Implementing the Tel. Consumer Prot. Act

  of 1991, 27 F.C.C.R. 1830, 1838 ¶ 20 (Feb. 15, 2012) (emphasis added).

         15.     To obtain express written consent for telemarketing calls, a defendant must

  establish that it secured the plaintiff’s signature in a form that gives the plaintiff a “‘clear and

  conspicuous disclosure’ of the consequences of providing the requested consent.... and having

  received this information, agrees unambiguously to receive such calls at a telephone number

  the [plaintiff] designates.” In re Rules & Regulations Implementing the Tel. Consumer Prot.

  Act of 1991, 27 F.C.C.R. 1830, 1837 ¶ 18, 1838 ¶ 20, 1844 ¶ 33, 1857 ¶ 66, 1858 ¶ 71 (F.C.C.

  Feb. 15, 2012).

         16.     The TCPA regulations promulgated by the FCC define “telemarketing” as “the

  initiation of a telephone call or message for the purpose of encouraging the purchase or rental

  of, or investment in, property, goods, or services.” 47 C.F.R. § 64.1200(f)(12). In determining

  whether a communication constitutes telemarketing, a court must evaluate the ultimate purpose

  of the communication. See Golan v. Veritas Entm't, LLC, 788 F.3d 814, 820 (8th Cir. 2015).

         17.     “Neither the TCPA nor its implementing regulations ‘require an explicit

  mention of a good, product, or service’ where the implication of an improper purpose is ‘clear

  from the context.’” Id. (citing Chesbro v. Best Buy Stores, L.P., 705 F.3d 913, 918 (9th Cir.

  2012)).




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         18.      “‘Telemarketing’ occurs when the context of a call indicates that it was initiated

  and transmitted to a person for the purpose of promoting property, goods, or services.” Golan,

  788 F.3d at 820 (citing 47 C.F.R. § 64.1200(a)(2)(iii); 47 C.F.R. § 64.1200(f)(12); In re Rules

  and Regulations Implementing the Telephone Consumer Protection Act of 1991, 18 F.C.C. Rcd

  at 14098 ¶ 141, 2003 WL 21517853, at *49).

         19.      No person or entity shall initiate any telephone solicitation to a residential

  telephone subscriber who has registered his or her telephone number on the national do-not-

  call registry of persons who do not wish to receive telephone solicitations that is maintained

  by the Federal Government. 47 C.F.R. § 64.1200(c)(2).

         20.      No person or entity shall initiate any call for telemarketing purposes to a

  residential telephone subscriber unless such person or entity has instituted procedures for

  maintaining a list of persons who request not to receive telemarketing calls made by or on

  behalf of that person or entity. 47 C.F.R. § 64.1200(d).

         21.      The rules set forth in paragraph (c) and (d) of § 64.1200 are applicable to any

  person or entity making telephone solicitations or telemarketing calls to wireless telephone

  numbers to the extent described in the Commission's Report and Order, CG Docket No. 02-

  278, FCC 03-153, “Rules and Regulations Implementing the Telephone Consumer Protection

  Act of 1991.”

         22.      An individual whose name is on the Do-Not-Call registry, and who has received

  more than one telephone call within any twelve-month period by or on behalf of the same

  entity without their consent has a private right of action under the TCPA. 47 U.S.C. §

  227(c)(5).




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         23.     The FCC has explained that calls motivated in part by the intent to sell property,

  goods, or services are considered telemarketing under the TCPA. See In re Rules and

  Regulations Implementing the Telephone Consumer Protection Act of 1991, 18 FCC Rcd.

  14014, ¶¶ 139-142 (2003). This is true whether call recipients are encouraged to purchase,

  rent, or invest in property, goods, or services during the call or in the future. Id.

         24.     In other words, offers “that are part of an overall marketing campaign to sell

  property, goods, or services constitute” telemarketing under the TCPA. See In re Rules and

  Regulations Implementing the Telephone Consumer Protection Act of 1991, 18 FCC Rcd.

  14014, ¶ 136 (2003).

         25.     If a call is not deemed telemarketing, a defendant must nevertheless demonstrate

  that it obtained the plaintiff’s prior express consent. See In the Matter of Rules and Regulations

  Implementing the Tel. Consumer Prot. Act of 1991, 30 FCC Rcd. 7961, 7991-92 (2015)

  (requiring express consent “for non-telemarketing and non-advertising calls”).

         26.     As recently held by the United States Court of Appeals for the Ninth Circuit:

  “Unsolicited telemarketing phone calls or text messages, by their nature, invade the privacy

  and disturb the solitude of their recipients. A plaintiff alleging a violation under the TCPA

  ‘need not allege any additional harm beyond the one Congress has identified.’” Van Patten v.

  Vertical Fitness Grp., No. 14-55980, 2017 U.S. App. LEXIS 1591, at *12 (9th Cir. May 4,

  2016) (quoting Spokeo, Inc. v. Robins, 136 S. Ct. 1540, 1549 (2016) (emphasis original)).

         27.     The TCPA creates a private right of action for affected consumers, and allows

  them to recover the greater of their actual monetary loss or up to $500 per call for each

  violation. 47 U.S.C. § 227(b). It also allows the district court to increase the award up to treble




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  statutory damages if it finds the defendant's violation was willful or knowing. Id. at 1318. See

  also Mims, 132 S. Ct. at 746.

                                    FACTUAL ALLEGATIONS

         28.    Defendant claims to be Miami’s best tattoo, piercing & body art studios.

  http://www.inkaholiktattoos.com/.

         29.    In order to drum up new business, Defendant partnered with the mobile

  marketing firm, Mobile Text Alerts, LLC (“Mobile Text”), to promote Defendant’s tattoo

  parlors.

         30.    As a result thereof, from June 06, 2017 to the present, Defendant, using Mobile

  Text’s automated mass text-messaging platform, caused more than 50 unsolicited text

  messages to be transmitted to Plaintiff’s cellular telephone.

         31.    At all times relevant herein, Plaintiff exercised sole dominion and control over

  the cellular telephone to which Defendant was calling.

         32.    The text messages contained advertisements for specials on Defendant’s tattoo

  and piercing services; they urge the consumer to follow Defendant’s employee or agent on

  Instagram; they ask the consumer to contact the Defendant via phone number, or to visit the

  Defendant’s physical locations.

         33.    Defendant’s text messages constitute telemarketing because they encouraged

  the future purchase or investment in property, goods, or services, i.e., Defendant’s tattoo or

  piercing services.

         34.    At no point in time did Plaintiff provide Defendant with her express written

  consent to the receipt of the subject text messages.




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         35.    Even if Plaintiff, at some point, unwittingly provided Defendant with express

  written consent, which she did not, Plaintiff on at least three separate occasions expressly

  demanded that Defendant cease sending text messages to her cellphone:




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         36.     The fact that Plaintiff demanded that Defendant cease sending her text

  messages, yet the messages did not stop, is evidence sufficient to indicate that Defendant failed

  to institute procedures for maintaining a list of persons who request not to receive

  telemarketing calls made by or on behalf of that person or entity.

         37.     Nor is it Defendant’s policy to refrain from calling individuals who have

  registered his or her telephone number on the national do-not-call registry of persons who do

  not wish to receive telephone solicitations that is maintained by the Federal Government.

         38.     Plaintiff’s cellular telephone number should have been placed on an internal do-

  not-call list but was not.

         39.     And Plaintiff’s cellular telephone number was on the national do-not-call

  registry more than 31 days prior to receiving the most recent text messages from Defendant,

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  received on January 13, 2018, mere days after instructing Defendant yet again to stop sending

  telemarketing text messages.

         40.    The impersonal and generic nature of Defendant’s text messages, and the fact

  the subject text messages originated from mobile-text-alerts.com, demonstrates that Defendant

  utilized an ATDS in transmitting the messages. See Jenkins v. LL Atlanta, LLC, No. 1:14-cv-

  2791-WSD, 2016 U.S. Dist. LEXIS 30051, at *11 (N.D. Ga. Mar. 9, 2016) (“These assertions,

  combined with the generic, impersonal nature of the text message advertisements and the use

  of a short code, support an inference that the text messages were sent using an ATDS.”) (citing

  Legg v. Voice Media Grp., Inc., 20 F. Supp. 3d 1370, 1354 (S.D. Fla. 2014) (plaintiff alleged

  facts sufficient to infer text messages were sent using ATDS; use of a short code and volume

  of mass messaging alleged would be impractical without use of an ATDS).

         41.    Defendant’s unsolicited text messages caused Plaintiff actual and tangible harm,

  including invasion of her privacy, the tying up of her phone line, depletion of battery life

  leading to less availability of her telephone line in the case of an emergency, aggravation at

  receiving so many unsolicited messages so frequently, annoyance, intrusion on seclusion,

  trespass, and conversion. Plaintiff suffered loss of time as a result of opening and seeing the

  text message, attempting to determine if there is a way to opt-out from the text messages, and

  answering back in attempts to have the mass messaging cease. Defendant’s text messages also

  inconvenienced Plaintiff and caused disruption to her daily life. See Patriotic Veterans, Inc. v.

  Zoeller, No. 16-2059, 2017 WL 25482, at *2 (7th Cir. Jan. 3, 2017) (“Every call uses some of

  the phone owner's time and mental energy, both of which are precious.”). Plaintiff received

  many of Defendant’s text messages while working, or engaged in important activity. She was

  disrupted by the call and had to stop what she was doing to answer her phone.



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                                     CLASS ALLEGATIONS

         42.     Plaintiff brings this action pursuant to Federal Rule of Civil Procedure 23(a),

  23(b)(2), and 23(b)(3) on behalf of herself and three separate classes of similarly situated

  individuals defined as follows:

                 No Consent Class: All individuals in the United States whose
                 cellular telephone was called (texted) by Defendant using any
                 automatic telephone dialing system or an artificial or
                 prerecorded voice during the four years preceding the filing of
                 this complaint without emergency purpose and without the
                 recipient’s prior express written consent.

                 Internal Do-Not-Call Class: All individuals in the United States
                 whose cellular telephone, within the four years prior to the
                 filing of this complaint, was called (texted) by Defendant with a
                 telephone solicitation after the person informed Defendant to
                 stop calling or sending text messages.

                 National Do-Not-Call Registry Class: All individuals in the
                 United States whose telephone number(s) were registered with
                 the National Do Not Call Registry at least 30 days prior to being
                 called (texted) by Defendant more than once within a 12-month
                 period during the four years preceding the filing of this
                 complaint.

         43.     Plaintiff is a member of all three classes. Excluded from the class are the

  Defendant, any entities in which the Defendant have a controlling interest, the Defendant’s agents

  and employees, any Judge to whom this action is assigned, and any member of the Judge’s staff

  and immediate family.

         44.     Numerosity: Even though the exact number of Class members is known only

  to Defendant at this time, it is clear that individual joinder is impracticable. On information

  and belief, Defendant call records and verification processes will reveal that Defendant sent

  telemarketing text messages to hundreds, if not thousands of consumers’ cellular telephones




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  throughout the United States who fall into the definitions of one or more of the proposed

  classes.

         45.      Typicality: Plaintiff’s claims are typical of the claims of other members of each

  of the three Classes, in that they all sustained damages arising out of Defendants’ uniform

  wrongful conduct and unsolicited text messages.

         46.      Adequate Representation: Plaintiff will fairly and adequately represent and

  protect the interests of the Class members, and has retained counsel competent and experienced

  in class actions. Plaintiff has no interests antagonistic to those of any Class member and will

  act in the best interest of the classes at all times.

         47.      Commonality and Predominance: There are many questions of law and fact

  common to the claims of Plaintiff and the Class members, and those questions predominate

  over any questions that may affect individual members of either Class. Common questions

  include, but are not necessarily limited to the following:

         a. Whether Defendant made non-emergency calls (texts) to Plaintiff’s and

               Class members’ cellular telephones using an ATDS;

         b. Whether Defendant can meet its burden of showing that it obtained prior

               express written consent to make such calls (texts);

         c. Whether the calls (texts) constitute telemarketing calls;

         d. Whether Defendant’s control over its affiliates, subsidiaries, officers,

               directors, vice-principals, agents, sub-agents, servants, or employees was

               such that Defendant should be held vicariously liable for their actions;

         e. Whether the acts described herein were done with the full authorization,

               ratification or approval of Defendant or done in the routine normal course



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               and scope of employment of the Defendant’s affiliates, subsidiaries, officers,

               directors, vice-principals, agents, sub-agents, servants, or employees;

         f. Whether class members are entitled to treble damages based on the

               willfulness of Defendants’ conduct;

         g. Whether Defendant should be enjoined from engaging in such conduct in the

               future.

         48.      Superiority: This case is also appropriate for class certification because class

  proceedings are superior to all other available methods of fair and efficient adjudication of this

  controversy in which joinder of all parties is impracticable. The damages suffered by the

  individual members of the Class will likely be relatively small, especially in relation to the

  burden and expense that individual prosecution of the complex litigation necessitated by

  Defendant’s actions would entail. Thus, it would be virtually impossible for the individual

  members of the Class to obtain effective relief from Defendant’s misconduct. Even if members

  of the Class could sustain such individual litigation, it would still not be preferable to a class

  action, because individual litigation would increase the delay and expense to all parties due to

  the complex legal and factual controversies presented in this Complaint. By contrast, a class

  action presents far fewer management difficulties and provides the benefits of single

  adjudication, economy of scale, and comprehensive supervision by a single court. Economies

  of time, effort, and expense will be fostered and uniformity of decisions ensured.

         49.      Moreover, the prosecution of separate actions by members of the Class would

  create a risk of establishing inconsistent rulings and/or incompatible standards of conduct for

  Defendant. For example, one court might enjoin Defendant from performing the challenged




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  acts, whereas another may not. Additionally, individual actions may be dispositive of the

  interests of the Class, although certain class members are not parties to such actions.


                                            COUNT I
                           Violations of the TCPA, 47 U.S.C. § 227(b)
                         (On Behalf of Plaintiff and the No Consent Class

            50.    Plaintiff realleges and incorporates paragraphs 1 through 49 as though fully set

  forth herein.

            51.    It is a violation of the 47 U.S.C. § 227(b)(1)(A)(iii) to make “any call (other

  than a call made for emergency purposes or made with the prior express consent of the called

  party) using any automatic telephone dialing system or an artificial or prerecorded voice…to

  any telephone number assigned to a cellular telephone service…” 47 U.S.C. §

  227(b)(1)(A)(iii).

            52.    Defendant’s violation of the 47 U.S.C. § 227(b)(1)(A)(iii) resulted in, among

  other things, an invasion of Plaintiff’s privacy and right to enjoy the full utility of her cellular

  device.

            53.    Defendant is directly and/or vicariously liable for the violations above.

            54.    As such, Defendant’s calls were willful or, at a minimum, negligent. See 47

  U.S.C. § 227(b)(3). Should the Court determine that Defendant’s misconduct was willful and

  knowing, the Court may, pursuant to section 227(b)(3), treble the amount of statutory damages

  recoverable by Plaintiff and other members of the class.


            WHEREFORE, Plaintiff, Juliana C. Donayre, on behalf of herself and the members of

  the No Consent Class, respectfully request the following relief:

            a. An Order certifying No Consent Class;




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           b. A declaration that Defendant’s practices described herein violate 47 U.S.C. §

                 227(b)(1)(A)(iii);

           c. An injunction prohibiting Defendant from using an automatic telephone dialing

                 system to text message telephone numbers assigned to cellular telephones without

                 the prior express permission of the called party;

           d. An award of statutory damages in the maximum amount allowed by law, and;

           e.    Such further and other relief the Court deems reasonable and just.


                                              COUNT II
                     Violation of Delivery Restrictions, 47 C.F.R. § 64.1200(c)(2)
                 (On Behalf of Plaintiff and the National Do-Not-Call Registry Class)

           55.       Plaintiff realleges and incorporates paragraphs 1 through 49 as though fully set

  forth herein.

           56.       It is a violation of the rules promulgated under the TCPA to initiate any telephone

  solicitation to A residential [or cellular1] telephone subscriber who has registered his or her telephone

  number on the national do-not-call registry of persons who do not wish to receive telephone

  solicitations that is maintained by the Federal Government. 47 C.F.R. § 64.1200(c)(2).

           57.       Defendant’s violation of 47 C.F.R. § 64.1200(c)(2) resulted in, among other

  things, an invasion of Plaintiff’s privacy and right to enjoy the full utility of her cellular device.

           58.       Defendant is directly and/or vicariously liable for the violations above.

           59.       As such, Defendant’s calls were willful or, at a minimum, negligent. See 47

  U.S.C. § 227(c)(5). Should the Court determine that Defendant’s misconduct was willful and

  knowing, the Court may, pursuant to section 227(c)(5), treble the amount of statutory damages

  recoverable by Plaintiff and other members of the class.



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      See, 47 C.F.R. § 64.1200(e)

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            WHEREFORE, Plaintiff, Juliana C. Donayre, on behalf of herself and the members of

  the No Consent Class, respectfully request the following relief:

            f.    An Order certifying the National Do-Not-Call Registry Class;

            g. A declaration that Defendant’s practices described herein violate 47 C.F.R. §

                  64.1200(c)(2);

            h. An injunction prohibiting Defendant from calling person who have registered his

                  or her telephone number on the national do-not-call registry;

            i.    An award of statutory damages in the maximum amount allowed by law, and;

            j.    Such further and other relief the Court deems reasonable and just.


                                               COUNT III
                        Violation of Delivery Restrictions, 47 C.F.R. § 64.1200(d)
                       (On Behalf of Plaintiff and the Internal Do-Not-Call Class)

            60.      Plaintiff realleges and incorporates paragraphs 1 through 49 as though fully set

  forth herein.

            61.      It is a violation of 47 C.F.R. § 64.1200(d) to initiate any call for telemarketing purposes

  to a residential [or cellular2] telephone subscriber unless such person or entity has instituted procedures

  for maintaining a list of persons who request not to receive telemarketing calls made by or on behalf

  of that person or entity. 47 C.F.R. § 64.1200(d).

            62.      Defendant’s violation of 47 C.F.R. § 64.1200(d) resulted in, among other things,

  an invasion of Plaintiff’s privacy and right to enjoy the full utility of her cellular device.

            63.      Defendant is directly and/or vicariously liable for the violations above.

            64.      As such, Defendant’s calls were willful or, at a minimum, negligent. See 47

  U.S.C. § 227(c)(5). Should the Court determine that Defendant’s misconduct was willful and



  2
      See, 47 C.F.R. § 64.1200(e)

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  knowing, the Court may, pursuant to section 227(c)(5), treble the amount of statutory damages

  recoverable by Plaintiff and other members of the class.


         WHEREFORE, Plaintiff, Juliana C. Donayre, on behalf of herself and the members of

  the No Consent Class, respectfully request the following relief:

         k. An Order certifying the Internal Do-Not-Call Class;

         l.    A declaration that Defendant’s practices described herein violate 47 C.F.R. §

               64.1200(d)(2);

         m. An injunction prohibiting Defendant from calling or texting individuals who have

               expressed a desire not to be called or texted and whose name should appear on Defendant’s

               internal do-not-call list;

         n. An award of statutory damages in the maximum amount allowed by law, and;

         o.    Such further and other relief the Court deems reasonable and just.


                                            JURY DEMAND

         65.       Plaintiff and Class Members hereby demand a trial by jury.



  Date: January 17, 2018                         Respectfully submitted,


                                                 /s/ Karl C. Gonzalez
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